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 9
                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA

11   THERESA SWEET, ALICIA DAVIS, TRESA                Case No.: 19-cv-03674-WHA
     APODACA, CHENELLE ARCHIBALD,
12   DANIEL DEEGAN, SAMUEL HOOD, and
     JESSICA JACOBSON on behalf of themselves
13
     and all others similarly situated,                PLAINTIFFS’ OBJECTION TO REPLY
14                                                     EVIDENCE
                    Plaintiffs,
15                                                     HEARING DATE: February 15, 2023
                    v.
16                                                     (Class Action)
     MIGUEL CARDONA, in his official capacity          (Administrative Procedure Act Case)
17
     as Secretary of the United States Department of
18   Education, and

19   THE UNITED STATES DEPARTMENT OF
     EDUCATION,
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                    Defendants.
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                                                                    Plaintiffs’ Objection to Reply Evidence
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 1          Pursuant to Civil Local Rule 7-3(d)(1), Plaintiffs hereby submit this Objection to Reply

 2   Evidence. Plaintiffs respectfully request that this Court strike from the record certain portions of

 3   the Declaration of Francis Giglio (ECF No. 364-2) (“Giglio Decl.”) and the Declaration of Joseph

 4   C. Berardinelli (ECF No. 364-3) (“Berardinelli Decl.”) because those declarations include

 5   untimely evidence that should have been presented, if at all, in Intervenors’ affirmative motion.

 6                                                 ARGUMENT

 7          “As a general rule, courts decline to consider information and arguments presented for the

 8   first time in a reply brief.” U.S. ex rel. Doe v. Biotronik, Inc., No. 2:09-cv-3617, 2015 WL 6447489,

 9   at *2 (E.D. Cal. Oct. 23, 2015). Although a district court has discretion to consider new evidence

10   presented with a reply brief, it will generally do so only if the new evidence is “a reasonable

11   response to the opposition,” Hodges v. Hertz Corp., 351 F. Supp. 3d 1227, 1248-49 (N.D. Cal.

12   2018), or constitutes a further analysis of “previously disclosed” materials, In re Google AdWords

13   Litig., No. 5:08-CV-3369, 2012 WL 28068, at *7-8 (N.D. Cal. Jan. 5, 2012), overruled on other

14   grounds, Pulaski & Midleman, LLC v. Google, Inc., 802 F.3d 979 (9th Cir. 2015).

15          Here, the Intervenors were clearly on notice that the viability of their Motion to Stay would

16   depend on their ability to marshal evidence of irreparable harm—indeed, they devoted an entire

17   section of their opening brief to that point. See Joint Motion for Stay Pending Appeal at 18-22,

18   ECF No. 350 (“Stay Mot.”). Yet the only evidence that Intervenors submitted at the time was an

19   attorney declaration attaching two website excerpts. See id. at 21; Decl. of Lucas C. Townsend,

20   ECF No. 350-1. They waited until their Reply Brief to file declarations that purported to describe

21   harms that two of the Intervenors have supposedly experienced—too late for Plaintiffs to

22   investigate these claims or to respond to Intervenors’ arguments based on them.

23          Much of the information in the Giglio and Berardinelli Declarations was known to

24   Intervenors as of the time they filed their Stay Motion. For example, Mr. Giglio cites a posting on

25   the Federal Trade Commission’s website dated September 16, 2022, see Giglio Decl. ¶ 6, and

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 1   securities filings dated August 8, 2022, and November 7, 2022, see id. ¶ 9. 1 If Intervenors intended

 2   to rely on these documents and Mr. Giglio’s views of them as evidence, there is no reason that

 3   evidence could not have been appended to the opening brief.

 4          Mr. Giglio also complains of a high school teacher rescinding an invitation for a Lincoln

 5   representative to speak to a class of students, which reportedly took place on January 9, 2023—

 6   before Intervenors filed their Stay Motion. See id. ¶ 4. Mr. Giglio goes on to claim that the names

 7   of the teacher and the Lincoln employee involved in this situation must be withheld “to protect

 8   their privacy,” id.—an assertion that Plaintiffs would have challenged if the declaration had been

 9   timely filed, particularly given that class members who submitted evidence in support of Plaintiffs’

10   opposition had no such luxury of anonymity when Lincoln and ECI accused them of lying under

11   oath. See Giglio Decl. ¶ 8; Berardinelli Decl. ¶ 9.

12          Mr. Berardinelli, for his part, does not bother to attach any dates to his vague assertions

13   that ECI has had to “dedicate resources” to addressing questions about the Settlement in this case,

14   and that the Settlement has “delayed and/or increased the cost of financing” or “caused, in some

15   instances, potential lenders not to provide financing.” Berardinelli Decl. ¶ 13. The Declaration

16   certainly does not indicate that these events have occurred in the past two weeks. If the Berardinelli

17   Declaration had been timely filed, Plaintiffs would have had an opportunity to investigate these

18   claims and seek details that might be able to substantiate or disprove them.

19          Both Mr. Giglio and Mr. Berardinelli speak vaguely of harm that “unfolds over time,

20   sometimes in unforeseen ways.” Id. ¶ 14; see Giglio Decl. ¶ 7 (“The harm from being deemed a

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22     It is worth noting that paragraph 9 is disingenuous in its own right. Mr. Giglio claims that
     disclosing the existence of the Settlement in this case in Lincoln’s securities filings has “caused
23   concrete and material consequences for the company, its financial reporting, and its shareholder
     relations.” Giglio Decl. ¶ 9. Yet a brief perusal of Lincoln’s listing on the NASDAQ exchange
24
     shows that Lincoln’s stock was higher as of the date of the Reply Brief ($6.58) than it was on the
25   date Exhibit C was made public ($6.00). See https://finance.yahoo.com/chart/LINC. Indeed, the
     stock equaled its 2022 high point ($7.71) on August 2, 2022, after Exhibit C had been public for
26   over a month, and hit its 2022 low ($4.69) on October 14, 2022, which was not anywhere near the
     disclosure dates cited in the Declaration. See id. This is the type of fact-checking that Intervenors
27   were apparently seeking to avoid by delaying the filing of their declarations.
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 1   wrongdoer by a regulator manifests itself over time, often in subtle and sometimes unpredictable

 2   ways.”). Neither declarant states that such harms have, in fact, “unfolded” or “manifested” in the

 3   time since Plaintiffs filed their opposition brief. Indeed, they do not claim that such harm has

 4   occurred at all—simply that it someday could. Even if they had been timely submitted, such

 5   allegations are plainly insufficient to justify a stay. See, e.g., Doe #1 v. Trump, 957 F.3d 1050,

 6   1059-60 (9th Cir. 2020) (“conclusory factual assertions and speculative arguments that are

 7   unsupported in the record” cannot satisfy burden of demonstrating irreparable harm).

 8          In each of the paragraphs described above, Intervenors are not responding to a new or

 9   unexpected argument or piece of evidence raised by Plaintiffs or the Department. 2 Intervenors had

10   plenty of time to develop their purported evidence of harm, and it was their affirmative burden to

11   do so. Their belated attempt to do so in reply should not be countenanced.

12                                             CONCLUSION

13          For the foregoing reasons, Plaintiffs respectfully request that the Court strike paragraphs

14   4, 5, 6, 7, and 9 of the Giglio Declaration, and paragraphs 13 and 14 of the Berardinelli Declaration.

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16   Dated: February 8, 2023

17                                                  /s/ Rebecca C. Ellis

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25     Intervenors’ declarations do include some evidence that specifically responds to new information
     from Plaintiffs’ opposition: namely, they address certain class member declarations that were
26   appended to the opposition brief. See Giglio Decl. ¶ 8; Berardinelli Decl. ¶¶ 8-11. That evidence
     is not a subject of this objection. However, it is defective for other reasons, and Plaintiffs address
27   it separately in their Motion for Leave to File Sur-Reply, filed simultaneously.
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